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uNiTED sTATEs oF AMERch, * WJ.D mt m {Jg€§’ni
Piaintifr, *
VS- * Criminal No. 00-20159-D
DAPHNE i-iousEAL, *
Defendant. *

 

PREL|M|NARY ORDER OF FORFE|TURE

 

in Superseding indictment Number00-201 59-D, the United States sought forfeitu re
of specific property of defendant Daphne i-iouseai, pursuant to 21 U.S.C. § 853. On
January 26, 2001 , the defendant, Daphne Houseai, entered a plea ofguiity to Count1and
agreed to forfeiture of property under Count 8 of the Superseding indictment
Accordingiy, it is ORDERED:

1. Based upon the defendants guilty plea to Count 1and agreement to
forfeiture of property under Count 8 of the Superseding indictment Number 00-20159-D,
the United States is authorized to seize the following property belonging to defendant
Daphne Houseal and his interest in it is hereby forfeited to the United States for disposition
in accordance with the |aw, subject to the provisions of 21 U.S.C. §853(n) and Ruie
32(d)(2) of the Federa| Rules of Criminal Procedure:

Currency as foliows:
1) Six thousand forty-four dollars ($6,044.00) in

United States currency seized from the purse
of the defendant incident to her arrest on

This document entered on the docket sheet%: /

with Fiuie 55 and/or 32(b) FHCrP on

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August 23, 2000;

2) Eight thousand four hundred dollars ($8.400.00)
seized by the Drug Enforcement Administration
(DEA) from attorney John Wes|ey Ha|l at the
Memphis DEA Resident Office on August 24, 2000.

Ai| pursuant to Titie 18, United States Code, Section 2253.

2. The forfeited property is to be held by the United States Marshai in his
secure custody, or, as may be necessary, the Attorney Genera| may appoint a substitute
custodian.

3. Pursuant to 21 U.S.C. §853(n)(1), the United States lViarshal shall publish at
least once a week for three successive weeks in a newspaper of general circulation in
Sheiby County, Tennessee, notice of this order, notice of the United States’ intent to
dispose of the property in such manner as the Attorney Generai or his delegate may direct,
and notice that any person, other than the defendant, having or claiming a legal interest
in any of the above-listed forfeited property must file a petition with the court within thirty
(30) days of the final publication of notice or of receipt of actual notice, whichever is earlier.
This notice shall state that the petition shall be for a hearing to adjudicate the validity of the
petitioner’s alleged interest in the property, shall be signed by the petitioner under penalty
of perjury, and shall set forth the nature and extent of the petitioner’s right, title or interest
in each of the forfeited properties and any additional facts supporting the petitioner’s claim
and the relief sought The United States Nlarshai or his delegate may use the attached
Lega| Notice.

The United States may aiso, to the extent practicabie, provide direct written notice

to any person known to have alleged an interest in property that is the subject of this

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Preiiminary Order of Forfeiture, as a substitute for published notice as to those persons so
notified.

4. Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Preiiminary Order of Forfeiture
shall become final as to the defendant at the time of sentencing and shall be made part of
the sentence and included in the judgment

5. if no third party files a timely ciaim, this Order shall become the Finai Order
of Forfeiture, as provided by Fed. R. Crim. P. 32.2(0)(2).

6. The United States shall have cieartitie to the Subject Property following the
Court’s disposition of all third~party interests, or, if none, following the expiration of the
period provided in 21 U.S.C. §853(n)(2), which is incorporated by 18U.S.C. §982(b) and
28 U.S.C. §2461(0), for the filing of third party petitions.

7. The Court shall retain jurisdiction to enforce this Orderl and to amend it as

necessary, pursuant to Fed. R. Crim. P. 32.2(e).

IT lS SO ORDERED this 22 2 day of¢Zgifz , 2005.

RN|CE B. ONALD
United States District Judge

PRESENTED BY:

TERRELL L. HARR|S
United States Atto

/%~?;`€U

STOPHER E. COTTEN
ssistant United States Attorney

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|N THE UNiTED STATES D|STR|CT COURT
FOR THE WESTERN D|STRICT OF TENNESSEE
WESTERN D|V|S|ON

 

UNiTED STATES OF AMER|CA, *
Plaintiff, *
vs. * Criminai No. 00-20159-D
DAPHNE HOUSEAL, *
Defendant. *
LEGAL NOT|CE

 

/
Take notice that on Q?‘,LJ€_£QQL the United States District Court for the

Western District of Tennessee, Western Division, entered a PreiiminaryOrderof Forfeiture
ordering that all rightl title and interest of the defendant Daphne Houseal in the following
property be forfeited to the United States to be disposed of in accordance with law:
1) Six thousand forty-four dollars ($6,044.00) in
United States currency seized from the purse
of the defendant incident to her arrest on
August 23, 2000;
2) Eight thousand four hundred dollars ($8,400.00)
seized by the Drug Enforcement Administration
(DEA) from attorney John Wes|ey Hall at the
Memphis DEA Resident Office on August 24, 2000.
Ali pursuant to Titie 18, United States Code, Section 2253.
The United States intends to dispose of this property in such matter as the Attorney

General or his delegate may direct. Any person, other than the defendant, having or

claiming a legal interest in the above-listed forfeited property must file a petition with the

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Court within thirty (30) days of the Hna| publication of this notice or of receipt of actual
notice, whichever is earlier. The petition shall be for a hearing to adjudicate the validity of
the petitioner’s alleged interest in the property, shall be signed by the petitioner under
penalty of perjury, and shall set forth the nature and extent of the petitioner’s right, tit|e, or
interest in each of the forfeited properties and any additional facts supporting the

petitioner’s claim and relief sought.

   

UNiTED `sTEsAT DISTRIC COUR - WTERN D'S;R"TCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 456 in
case 2:00-CR-20159 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

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Honorable .1 on MeCalla
US DISTRICT COURT

